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Texas Department of Criminal `Justice 5§%?(:!]305[5%13 ONL'Y '

Grievance #:

 

-- OFFENDER
STEP 1 GRIEVANCE FORM

Date Received:

Date Due:

 

 

v _Grievanee Co¢_ie:

foenderName: /;3 f"//’? fm 5‘~55°:/$ ¢/GFTDCJ# SQ£¢V./»H

lnvestigator ID #:

 

 

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1 f /"" 5 '
Unit: /f/ 5"¢*"5 7,/ _ HousingAssignment: 549 ' 55 Extension Date:
/l 1
»Unit where incident occurred:- finn 3 " l»~." cf ’/é f / .. Date Retd-to'Offender: 2

 

 

 

 

You must try to resolve your problem with a staff member before you submit a formal complaint.` The only exc,)ptlc}n 1s fx

appealing the results of a disciplinary 11 ?'mg ,,, did é,,_., , n? //j./? !?,.. ,s, fgt/__J,o/@

.Who did you talk to (name, title 5 »2 551/3231- "' " 35 Whe
__What was their response? /1’.»» f'”od~ {;<-'2’ '/// 255/law /:i`@ f.¢€é? A{"'/£M

-Whatactionwastaken? w 257/555de /?]? /M/:‘§’(‘¢'P ",T l n n ' 5 . .

 

 

 

 

 

 

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571-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM _ (OVER)

Appendix F

§ f:_`r,.;....r Case 4:18-cv-01652 Document 22-1 Filed on 11/05/18 in -TXSD Page 2 of 6

 

 

 

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Grievance Response:» ~` ~ ~' ~ ~ »~~ ~ ~~

Signature Authority:

Date:

 

If you are dissatisfied with the Step 1 response, you may submit a Step 2 (lI-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.

State the reason for appeal on the Step 2 Form.

Returned because:

n l. Grievable time period has expired.

m 2. Submission in excess of 1 every 7 days. *

l:l 3. Originals not submitted *

m 4. Inappropriate/Excessive attachments. *

I:] 5. No documented attempt at informal resolution. *
m 6 No requested relief 1s stated. * wm
m 7 Malicious use of vulgar, indecent, or physically threatening language. *
m 8. The 1ssue presented 1s not grievable.

l:l 9. Redundant, Refer to grievance #
m 10. lllegible/Incomprehensible. *
m ll. Inappropriate.- *

UGI Printed Name/Signature:

*Resubmit this form when the corrections are made.

 

OFFICE USE ONLY{

lnitial_ Submission UGl lnitials:

Grievance #: '

Screening Criteria Used:_

_ _.,. Date Recd from_Offender:,l,._'___..__
Date Returne`d to Offender:
Pan UGI Initials:
Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:
Date Retumed to Offender:

§"LS_“LMw-i . UGI Inicials;

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

Medical Signature Authority:

Grievance #:

 

vScreening Criteria Used:
Date Recd from Offender:

Date Returned to Offender:

 

1-,127 Back (Revised 11-2010)

 

 

Appendix F

 

 

ease 4:13--0\/-01652 Documem 22- 1 l_=iled on 11/05/18 in T)§§PH@;I/ 649 ¢)f_
SUBJECT: State briefly the problem on Which you desire assistance. Pé§§ z:f'\
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Case 4:18-0\/- -01652 Document 22 1 Filed on 11/05/18 in TXSD Page 4 of 6

TEXAS DEPARTMENT OF CR\I\/||NAL JUST|CE-

lNST!TUTEONAL DIV§SEON

ENFVEATE RE@UESTTCS ©FFECEA L

REASON FOR REQUEST: (Please check one)

PLEASE AB!DE BY THE FOLLOW!NG CHANNELS OF COFV!MUNECATEON. THES WELL SA`\IE TBEVEE, GE`E` YOUR REQUEST TO THE

PROPER PERSON, AN§ GET AN AP&SWERTOYOU NEORE QUECKLY.

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To: é’/` /¢5”5’\<?§ /L%Wj` "'/MZ(, 5141¢& >DATE:' '

ADDRESS;

Unit Assignment, Transter (Chairman of Classitication,
Administration Buiiding)

Hestoration of Lost overtime (Unit Warden-if approved, it
Wil/ be forwarded to the State Discip/inary Committee)

Hequest for Prornotion in Class or to Trusty C/ass
(UnitWarden- itappioved Wl/i be forwarded to the Director

of C/assification)

C/emency~.Pardon, paro/e, ear/y out-mandato/ysupervision

(Board of_ Pardons and Paroles, 8610 Shoa/ Creek Blvd. _

Austin, Texas 78757)

(Name and rit/e’of officia/)

712/tma //

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\/isiting List (Asst. Director of ciassification, Administration
Building)

Paro/e requirements and related information (Unit Paro/e
Counselor)

inmate Prison Hecord (Hequest for copy of record, infor-
mation on parole e/igibility, discharge date, detainers-Unit
Administration)

' Persona/ interview Wit/? a representative of an outside

agency (Treatment Division, Administration Bui/ding):- '. ~

- ;V/Z,Q//?"

 
   
 

 

ease 4:13-0\/-01652 D' "

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SUBJECT: State briefly the problem on which you desire assistance 211 -»r;; 1,_‘,;'“'= " 11 a
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‘” §§D 171 ) L?W/yp fer 21 1
Name: C~E/y//Z é, UQy/r No: gc;§?§é Unit: QZ[ //§/(
Living Ouarters: =-M; A /°` /J Work Ass'lgnment: M'é@ M /Z’/ /§:l /g

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Case 4:18- -C\/- -01652 Document22- 1 Filed on 11/05/18 in TXSD Page 6 of 6
TEXAS DEPARTMENT O_F CR|MINAL JUSTlCE - INST!TUT!GNAL D!\!lSlON

§NEVEA'E'E RE@UESTT© ®FF§ CEA

REASON FOR P.EQUEST: (Please Check One)

:PLEASE AB!DE §Y THE FGLLOWENG CHANNELS OF COMMUNSCATEON. TH§S WILE,. SAVE T!ME, GET YOUR REG_UEST TO THE

_ PROP;ER PERSON, AND GET AN ANSWER TOYOU l\iiORE QU!CKLY.

1.[.`.!

TO- Ct’l Q(/£}UQ %f

--_ ADDRESS:

Unit Assignment, Transfer (Chair/nan of Ciassification,
Admi_nistration Building)

Restoration of Lost overtime (Unit l/'l/arden-if epproved, it
will be forwarded to the State Discip/inary Committee)

Hequest for Promotion in Ciass or to Trusty C/ass

(Unit Warden- if approved, will be forwarded to the Director

of Ciassification)

C/eme/_“lcy_-Pardon,.paroie, earlyout-mandato,ySUpen/isigh,-- , _ _
(Board of Pardons and Paroies, 8610 Shoai Creek Bivd, 4

Austin, Texas 78757)

(Name amf title of officiai)

 

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5. U Visiting List(Asst Director of classification Administration

Buiiding)

Paroie requirements and related information (Unit Paroie

` Counselor)

inmate Prison Record (Ffequest for copy of record infor-
mation on parole eiigibi/ity, discharge date detainers- Unit
Administration) -

Personai interview with a representative of an outside

' agency (Treatrnent Division,’ Adminis`t'ra`tion:Buiiding)' `: ‘1 °:

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